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              EXHIBIT C
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                                                               Appendix: Proposed Perplexity Search Strings

Request       Text of Request                                                                            Proposed String
No.
First         All documents and other communications between Perplexity AI and any third party           ((agreement! OR contract! OR partner! OR redlin! OR negotiat! OR
Subpoena,     proposing, discussing, or relating to the promotion, preinstallation, syndication, or      analy! OR “joint venture” OR JV OR “joint development” OR
Request No.   other distribution of the Perplexity Service. Documents within the scope of this           relationship! OR collaborat!) W/12 ((exclusiv! OR DSE OR default! OR
1             request include, but are not limited to, negotiations over agreements as well as final     pre-install! OR preinstall! OR pre-set! OR preset! OR place OR places
              executed agreements that Perplexity AI has entered into with any third party with          OR placed OR placing OR placement OR promot! OR distribut! OR
              respect to the promotion, preinstallation, syndication, or other distribution of the       preload! OR syndicat! OR integrat! OR (shar! W/2 rev!) OR revshare)
              Perplexity Service.                                                                        W/8 (Bing! OR Edge OR Microsoft OR MSFT OR Copilot OR
                                                                                                         Prometheus OR Gemini OR Bard OR Claude OR ChatGPT OR
                                                                                                         SearchGPT OR Haiku OR Apple OR APPL OR Perplexity OR GPT! Or
                                                                                                         4o! OR “You.com” OR Claude! OR Sonnet! Or Sonar! OR Grok! OR
                                                                                                         xAI! OR {code name for Bing} OR {code name for Edge} OR {code
                                                                                                         name for Microsoft} OR {code name for Copilot} OR {code name for
                                                                                                         Prometheus} OR {code name for Gemini/Bard} OR {code name for
                                                                                                         Claude} OR {code name for Sonar} OR {code name for Grok} OR {code
                                                                                                         name for xAI} OR {code name for ChatGPT} OR {code name for
                                                                                                         SearchGPT} OR {code name(s) for Perplexity’s models} OR {code
                                                                                                         name(s) for the Perplexity Service} OR {code name(s) for the Perplexity
                                                                                                         App} OR Sydney OR {code name for Apple} OR {code name for
                                                                                                         You.Com}))) OR ((distribution OR integration OR service! OR syndicat!
                                                                                                         OR licens!) W/2 agreement) OR ((Bing! OR Edge OR Microsoft OR
                                                                                                         MSFT OR Copilot OR Prometheus OR Gemini OR Bard OR Claude OR
                                                                                                         ChatGPT OR SearchGPT OR Haiku OR Apple OR APPL OR Perplexity
                                                                                                         OR GPT! Or 4o! OR “You.com” OR Claude! OR Sonnet! Or Sonar! OR
                                                                                                         Grok! OR xAI! OR {code name for Bing} OR {code name for Edge} OR
                                                                                                         {code name for Microsoft} OR {code name for Copilot} OR {code name
                                                                                                         for Prometheus} OR {code name for Gemini/Bard} OR{code name for
                                                                                                         Claude} OR {code name for Sonar} OR{code name for Grok} OR {code
                                                                                                         name for xAI} OR {code name for ChatGPT} OR {code name for
                                                                                                         SearchGPT} OR {code name(s) for Perplexity’s models} OR {code

                                                                                        1
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    Request       Text of Request                                                                      Proposed String
    No.
                                                                                                         name(s) for the Perplexity Service} OR {code name(s) for the Perplexity
                                                                                                         App} OR Sydney OR {code name for Apple} OR {code name for
                                                                                                         You.Com}) AND (“115 Sansome” OR “575 Market” OR 94105 OR
                                                                                                         94104) AND (termination! OR definition! OR “witness whereof”))
    Second        All documents of Dmitry Shevelenko, Ryan Foutty, and Emily Jorgens, as well as the As to “generative AI’s relationship with Search Access Points”
    Subpoena,     documents of their direct report(s) and immediate supervisor1, relating to “generative
    Request No.   AI’s relationship with Search Access Points, distribution, barriers to entry and       (Bing! OR Edge OR “search engine” OR GSE OR Google OR Chrome
    2             expansion, and data sharing,” ECF 1072-2 at 4, to the extent not produced in           OR browser OR {code name for Bing} OR {code name for Edge} OR
                  response to other requests.                                                            {code name for OpenAI browser} OR {code name for Google / Chrome})
                                                                                                         W/10 (GPT! OR Claude! OR Sonar! OR 4o! OR Haiku! OR Grok! OR
                                                                                                         xAI! OR Perplexity OR {code name for xAI} OR {code name for
                                                                                                         ChatGPT} OR {code name for Claude} OR {code name(s) for
                                                                                                         Perplexity’s models} OR {code name(s) for the Perplexity Service} OR
                                                                                                         {code name(s) for the Perplexity App})

                                                                                                       As to “distribution”

                                                                                                       [See Subpoena 1, RFP 1]

                                                                                                       As to “barriers to entry and expansion”

                                                                                                       (investment! OR barrier! OR moat! OR capital! OR cloud!) AND (GPT!
                                                                                                       OR Claude! OR Sonar! OR 4o! OR Haiku! OR Grok! OR xAI! OR
                                                                                                       Perplexity OR {code name for xAI} OR {code name for ChatGPT} OR
                                                                                                       {code name for Claude} OR {code name(s) for Perplexity’s models} OR
                                                                                                       {code name(s) for the Perplexity Service} OR {code name(s) for the
                                                                                                       Perplexity App})



1
 Google’s proposed compromise, which Perplexity rejected, would seek documents from Aravind Srinivas, Dimitry Shevelenko, and Johnny Ho, instead of the custodians
mentioned here.
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    Request       Text of Request                                                                            Proposed String
    No.
                                                                                                             As to “data sharing”

                                                                                                             (“data sharing” OR API) W/10 (GPT! OR Claude! OR Sonar! OR 4o! OR
                                                                                                             Haiku! OR Grok! OR xAI! OR Perplexity OR {code name for xAI} OR
                                                                                                             {code name for ChatGPT} OR {code name for Claude} OR {code
                                                                                                             name(s) for Perplexity’s models} OR {code name(s) for the Perplexity
                                                                                                             Service} OR {code name(s) for the Perplexity App})

    Second        All documents of Aravind Srinivas, Dmitry Shevelenko, Ryan Foutty, Emily Jorgens,          (strategy OR strategies OR strategic OR roadmap OR vision) w/3 (Bing!
    Subpoena,     Denis Yarats, and Johnny Ho2 regarding Perplexity AI’s strategy with respect to AI         OR Edge OR Microsoft OR MSFT OR Copilot OR Prometheus OR
    Request No.   Products and the integration of artificial intelligence into search-related products, to   Gemini OR Bard OR Claude OR ChatGPT OR SearchGPT OR Haiku OR
    3             the extent not produced in response to other requests.                                     Apple OR APPL OR Perplexity OR GPT! Or 4o! OR “You.com” OR
                                                                                                             Claude! OR Sonnet! Or Sonar! OR Grok! OR xAI! OR {code name for
                                                                                                             Bing} OR {code name for Edge} OR {code name for Microsoft} OR
                                                                                                             {code name for Copilot} OR {code name for Prometheus} OR {code
                                                                                                             name for Gemini/Bard} OR {code name for ChatGPT} OR {code name
                                                                                                             for SearchGPT} OR {code name(s) for Perplexity’s models} OR {code
                                                                                                             name(s) for the Perplexity Service} OR {code name(s) for the Perplexity
                                                                                                             App} OR Sydney OR {code name for Apple} OR {code name for
                                                                                                             You.Com})




2
    Google’s proposed compromise, which Perplexity rejected, would seek documents only from Aravind Srinivas, Dimitry Shevelenko, and Johnny Ho.
